             Case 4:22-cv-00325-RH-MAF Document 183-5 Filed 04/27/23 Page 1 of 4

Re: AHCA - Preparation with Dr. Grossman
miriam grossman <                                                 >
Thu 6/30/2022 4:03 PM
To: Mohammad O. Jazil <mjazil@holtzmanvogel.com>
Cc: Weida, Jason <Jason.Weida@ahca.myflorida.com>;Zack Bennington
<zbennington@holtzmanvogel.com>;Gary V. Perko <gperko@holtzmanvogel.com>
Quick question - is it ok if while answering a question I say something like,
“This rule will protect young people in Florida, the same way similar kids are now
Protected in Sweden, Finland etc…I applaud the state of Florida and hope many others will follow.”

Also, is Florida the first to take this route in limiting medical interventions, as opposed to the
legislative route? I haven’t heard of another state doing this.

Thanks
Sent from my iPad


      On Jun 30, 2022, at 1:55 PM, Mohammad O. Jazil <mjazil@holtzmanvogel.com> wrote:



      *Rescheduled*

      *Pla orm changed from Teams to Zoom*
             tf
      Please join the zoom mee ng on 6/30/22
                                            ti
      Zack Bennington is invi ng you to a scheduled Zoom mee ng.
                                       ti
                                                             ti
      Topic: Prepara on with Dr. Grossman
                        ti
      Time: Jun 30, 2022 02:00 PM Eastern Time (US and Canada)

      Join Zoom Mee ng
                             ti
      h ps://zoom.us/j/96098319890?pwd=dnVIYTVHZDBiU29MUTVpQ1NUUDYzdz09
        tt
      Mee ng ID: 960 9831 9890
              ti
      Passcode: 700535
      One tap mobile
      +13126266799,,96098319890#,,,,*700535# US (Chicago)
      +19294362866,,96098319890#,,,,*700535# US (New York)

      Dial by your loca on
                                  ti
           +1 312 626 6799 US (Chicago)
           +1 929 436 2866 US (New York)
           +1 301 715 8592 US (Washington DC)
           +1 346 248 7799 US (Houston)
           +1 669 900 6833 US (San Jose)
           +1 253 215 8782 US (Tacoma)                                                Pl. Trial Ex. 303
      Mee ng ID: 960 9831 9890
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      Passcode: 700535
                                                 GROSSMAN0095
   Case 4:22-cv-00325-RH-MAF Document 183-5 Filed 04/27/23 Page 2 of 4
Find your local number: h ps://zoom.us/u/acxEo1zFWT




                                         tt
From: miriam grossman <                                >
Sent: Thursday, June 30, 2022 1:51 PM
To: Weida, Jason <Jason.Weida@ahca.my orida.com>




                                                                        fl
Cc: Zack Bennington <zbennington@HoltzmanVogel.com>; Mohammad O. Jazil
<mjazil@holtzmanvogel.com>; Gary V. Perko <gperko@HoltzmanVogel.com>; Sheeran, Andrew
<Andrew.Sheeran@ahca.my orida.com>; Michael Beato <mbeato@HoltzmanVogel.com>; Andre



                                                   fl
Van Mol <95andrev@gmail.com>
Subject: Re: AHCA - Prepara on with Dr. Grossman
                                              ti
Hi I don’t see a link for today

Sent from my iPad



       On Jun 28, 2022, at 5:34 PM, Weida, Jason <Jason.Weida@ahca.my orida.com> wrote:




                                                                                                                                  fl
       Perfect. Thank you.

       From: Zack Bennington <zbennington@HoltzmanVogel.com>
       Sent: Tuesday, June 28, 2022 3:59 PM
       To: Weida, Jason <Jason.Weida@ahca.my orida.com>; miriam grossman
                                                                                            fl
       <                                  >
       Cc: Mohammad O. Jazil <mjazil@holtzmanvogel.com>; Gary V. Perko
       <gperko@HoltzmanVogel.com>; Sheeran, Andrew
       <Andrew.Sheeran@ahca.my orida.com>; Michael Beato
                                                                  fl
       <mbeato@HoltzmanVogel.com>; Andre Van Mol <95andrev@gmail.com>
       Subject: RE: AHCA - Prepara on with Dr. Grossman
                                                             ti
       Team,

       It seems the consensus is to begin at 2 for introduc ons, with Jason joining at 2:30.
                                                                                                                ti
       Please let me know if anyone’s availability changes. Thank you!


       Zack Bennington
                                    ​​
       Mobile: (762) 585-0490
       zbennington@HoltzmanVogel.com // www.HoltzmanVogel.com


       <image001.jpg>




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       prohibited. Moreover, any such disclosure shall not compromise or waive the a orney-client, accountant-client, or other privileges as to this communica on or
                                                                                                 tt
                                                                                                                                                                ti
       otherwise. If you have received this communica on in error, please contact me at the above email address. Thank you.
                                                        ti
       DISCLAIMER

       Any accoun ng, business or tax advice contained in this communica on, including a achments and enclosures, is not intended as a thorough, in-depth analysis
                                                                       GROSSMAN0096
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Case 4:22-cv-00325-RH-MAF Document 183-5 Filed 04/27/23 Page 3 of 4
  of speci c issues, nor a subs tute for a formal opinion, nor is it su cient to avoid tax-related penal es. If desired, Holtzman Vogel, PLLC would be pleased to




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  perform the requisite research and provide you with a detailed wri en analysis. Such an engagement may be the subject of a separate engagement le er that




                                                                                  tt
                                                                                                                                                        tt
  would de ne the scope and limits of the desired consulta on services.




              fi
                                                                        ti
  From: Weida, Jason <Jason.Weida@ahca.my orida.com>




                                                                                                       fl
  Sent: Tuesday, June 28, 2022 3:11 PM
  To: miriam grossman <                              >
  Cc: Zack Bennington <zbennington@HoltzmanVogel.com>; Mohammad O. Jazil
  <mjazil@holtzmanvogel.com>; Gary V. Perko <gperko@HoltzmanVogel.com>; Sheeran,
  Andrew <Andrew.Sheeran@ahca.my orida.com>; Michael Beato




                                                                                   fl
  <mbeato@HoltzmanVogel.com>; Andre Van Mol <95andrev@gmail.com>
  Subject: RE: AHCA - Prepara on with Dr. Grossman


                                                    ti
  So I’m ne with the group star ng at 2:00 if anyone wants to start before I get on – I’m
                   fi
                                                              ti
  completely ne with that. That may be be er so we can knock out introduc on and
                             fi
                                                                                                  tt
                                                                                                                                            ti
  begin some basic prep. I just can’t join un l 2:30.


                                                                                             ti
  From: miriam grossman <                                >
  Sent: Tuesday, June 28, 2022 3:08 PM
  To: Weida, Jason <Jason.Weida@ahca.my orida.com>
                                                                                        fl
  Cc: Zack Bennington <zbennington@holtzmanvogel.com>; Mohammad O. Jazil
  <mjazil@holtzmanvogel.com>; Gary V. Perko <gperko@holtzmanvogel.com>; Sheeran,
  Andrew <Andrew.Sheeran@ahca.my orida.com>; Michael Beato
                                                                                   fl
  <mbeato@holtzmanvogel.com>; Andre Van Mol <95andrev@gmail.com>
  Subject: Re: AHCA - Prepara on with Dr. Grossman
                                                    ti
  I can do 2:30 as long as we’re nished by 3:30
                                                         fi
  Sent from my iPhone


                   On Jun 28, 2022, at 3:03 PM, Weida, Jason
                   <Jason.Weida@ahca.my orida.com> wrote:
                                                                   fl
                   Can we do 2:30 instead?

                   -----Original Appointment-----
                   From: Zack Bennington <zbennington@HoltzmanVogel.com>
                   Sent: Tuesday, June 28, 2022 2:50 PM
                   To: miriam grossman; Mohammad O. Jazil; Gary V. Perko
                   Cc: Sheeran, Andrew; Weida, Jason; Michael Beato; Andre Van Mol
                   Subject: AHCA - Prepara on with Dr. Grossman
                                                                   ti
                   When: Thursday, June 30, 2022 2:00 PM-3:30 PM (UTC-05:00) Eastern
                   Time (US & Canada).
                   Where: zoom

                   *Rescheduled*

                   *Pla orm changed from Teams to Zoom*
                        tf
                   Please join the zoom mee ng on 6/30/22
                                                                             ti
                                                                             GROSSMAN0097
Case 4:22-cv-00325-RH-MAF Document 183-5 Filed 04/27/23 Page 4 of 4
       Zack Bennington is invi ng you to a scheduled Zoom mee ng.




                                   ti
                                                             ti
       Topic: Prepara on with Dr. Grossman




                    ti
       Time: Jun 30, 2022 02:00 PM Eastern Time (US and Canada)

       Join Zoom Mee ng




                         ti
       h ps://zoom.us/j/96098319890?

        tt
       pwd=dnVIYTVHZDBiU29MUTVpQ1NUUDYzdz09

       Mee ng ID: 960 9831 9890
             ti
       Passcode: 700535
       One tap mobile
       +13126266799,,96098319890#,,,,*700535# US (Chicago)
       +19294362866,,96098319890#,,,,*700535# US (New York)

       Dial by your loca on
                              ti
            +1 312 626 6799 US (Chicago)
            +1 929 436 2866 US (New York)
            +1 301 715 8592 US (Washington DC)
            +1 346 248 7799 US (Houston)
            +1 669 900 6833 US (San Jose)
            +1 253 215 8782 US (Tacoma)
       Mee ng ID: 960 9831 9890
             ti
       Passcode: 700535
       Find your local number: h ps://zoom.us/u/acxEo1zFWT
                                        tt
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